       Case 1:22-cr-00414-JEB Document 15 Filed 02/28/23 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA

           v.                                       22-cr-414 (JEB)

ANDREW JOHNSON



           MOTION TO WITHDRAW AS COUNSEL AND FOR
         APPOINTMENT OF NEW COUNSEL FOR DEFENDANT

     Attorney Heather Shaner, appointed by the Court for Mr. Andrew
Johnson, now moves this Honorable Court to allow her to withdraw from
representation and to appoint new counsel. In support of this motion
counsel states the defendant and counsel have reached an impasse that
precludes further representation.    The defendant has requested that
counsel withdraw and that new counsel be appointed.


     WHEREFORE, counsel respectfully requests the Court Grant this
Motion and appoint new counsel for Andrew Johnson.


                            Respectfully submitted,


                            ______________/s/____________
                            H. Heather Shaner, Esq. D.C. Bar 273276
                            Appointed by the Court for Andrew Johnson
                            1702 S St. N.W.
Case 1:22-cr-00414-JEB Document 15 Filed 02/28/23 Page 2 of 2




                     Washington, D.C. 20009
                     Tel. 202 265 8210
                     hhsesq@aol.com
